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                    13    LTD., and ZETTA JET USA, INC.
                    14                       UNITED STATES DISTRICT COURT
                    15                      CENTRAL DISTRICT OF CALIFORNIA
                    16
                    17    JAMES N.H. SEAGRIM, STEPHEN               CASE NO. 2:17-CV-6648 (JAK)
                          MATTHEW WALTER, ZETTA JET
                    18    PTE. LTD., and ZETTA JET USA, INC.,       The Honorable John A. Kronstadt
                    19                     Plaintiffs,
                                                                    NOTICE OF MOTION AND
                    20               vs.                            MEMORANDUM OF POINTS
                    21    GEOFFERY OWEN CASSIDY,                    AND AUTHORITIES IN
                          MIRANDA JUNE TANG (a/k/a JUNE             SUPPORT OF PLAINTIFFS’
                    22    TANG KIM CHOO), and ASIA
                          AVIATION HOLDINGS PTE. LTD.,              MOTION FOR DEFAULT
                    23                                              JUDGMENT AGAINST
                                           Defendants.              DEFENDANT GEOFFREY OWEN
                    24                                              CASSIDY
                    25                                              DATE: June 14, 2021
                    26                                              TIME: 8:30 a.m.
                                                                    COURTROOM: 10B
                    27
                    28
DLA P IPER LLP (US)                                                           PLAINTIFFS’ MOTION FOR DEFAULT
    LOS A NGEL ES
                                                                                     CASE NO. 2:17-CV-6648 (JAK)
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                      1
                          TO THE HONORABLE COURT AND TO ALL PARTIES:
                      2
                                PLEASE TAKE NOTICE that on June 14, 2021 at 8:30 a.m. this matter will
                      3
                          be heard in the above entitled Court located at 350 West 1st Street, Los Angeles, CA,
                      4
                          90012, or heard remotely if so required, and the Trustee will move this Court to grant
                      5
                          entry of default judgment against Defendant Geoffrey Owen Cassidy.
                      6
                                The Motion is based on this Notice and Memorandum of Points and Authorities
                      7
                          in Support of the Motion for Entry of Default Judgment Against Defendant Geoffrey
                      8
                          Owen Cassidy; the Declaration of Jonathan D. King in support of this Motion; the
                      9
                          Declaration of Luke Furler in support of this Motion; and the [Proposed] Order
                    10
                          Granting Entry of Default Judgment Pursuant to FRCP 55(b); as well as any oral and
                    11
                          documentary evidence as may be allowed at the hearing of this Motion.
                    12
                    13
                          DATED: February 19, 2021              DLA PIPER LLP (US)
                    14
                    15                                          By: /s/ David B. Farkas
                                                                DAVID B. FARKAS
                    16
                                                                JOHN K. LYONS (Pro Hac Vice)
                    17                                          JEFFREY S. TOROSIAN (Pro Hac Vice)
                    18
                                                                Attorneys for Jonathan D. King as
                    19                                          Chapter 7 Trustee
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                      1          For the reasons described below, Plaintiffs1 move this Court to enter default
                      2   judgment against Defendant Geoffrey Owen Cassidy (“Cassidy”).
                      3   I. Background, Facts, and Procedural History
                      4          Cassidy—as part of an agreed scheme and enterprise with his ex-wife, Tang,
                      5   and their company, Asia Aviation—pillaged Zetta Jet USA and Zetta Jet PTE through
                      6   a scheme of fraud, self-dealing, and theft. Cassidy (1) stole millions in corporate
                      7   funds, (2) destroyed the Plaintiff corporations by buying hundreds of millions of
                      8   dollars of aircraft at inflated prices in exchange for kickbacks, and (3) fraudulently
                      9   concealed or misrepresented material information to enrich himself. (Compl. ¶¶ 41-
                    10    50, 53-55, 58, 62-70.) Cassidy stole Zetta PTE’s funds to buy luxury yachts, real
                    11    property in France and Singapore, and expensive cars. (Id. ¶¶ 41-43.) He threw
                    12    “extravagant gatherings” in Monaco, Los Angeles, and Macao with misappropriated
                    13    funds. (Id. ¶ 44.) Cassidy also used Zetta PTE aircraft for personal use without the
                    14    required authorization from the board of directors and without ever providing
                    15    reimbursement. (Id. ¶ 45-50.)
                    16           While Cassidy was siphoning millions from Plaintiffs, he was also running
                    17    them into the ground. He destroyed Zetta PTE and Zetta USA by causing them to buy
                    18    hundreds of millions of dollars of aircraft at inflated prices in exchange for kickbacks.
                    19
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                    20      The original plaintiffs in the Complaint were James N.H. Seagrim (“Seagrim”), Stephen Matthew
                          Walter (“Walter”), Zetta Jet PTE. Ltd. (“Zetta PTE”), and Zetta Jet USA, Inc. (“Zetta USA”).
                    21    (Compl. at 1.) On April 26, 2018, the Trustee confirmed that he was pursuing claims on behalf of
                          Zetta PTE and Zetta USA. (Dkt. 55.) This Court recognized that this statement was “sufficient to
                    22    effect a ratification, joinder or substitution in this action” (Dkt. 56 at 6) and that the Trustee thus
                    23    “be[came] the real party in interest” (id. (quoting Ritz Camera & Image, LLC v. Sandisk Corp., 2013
                          WL 3387817, at *2 (N.D. Cal. July 5, 2013)). If Zetta PTE and Zetta USA are still plaintiffs in this
                    24    case, therefore, they are merely nominal plaintiffs. See Jackson v. E-Z-GO Div. of Textron, Inc.,
                          2012 WL 2562830, at *1–2 (W.D. Ky. June 29, 2012). Seagrim and Walter were dismissed from
                    25    this action on October 5, 2018. (Dkt. 62; see also Dkt. 60.) The original Defendants were Cassidy,
                          Miranda June Tang (“Tang”), and Asia Aviation Holdings PTE. Ltd. (“Asia Aviation”). (Compl. at
                    26    1.) Tang was voluntarily dismissed on October 22, 2017. (Dkt. 19.) Asia Aviation was dismissed
                    27    for lack of personal jurisdiction on August 2, 2018. (Dkt. 56 at 10.) As a result, the only parties
                          remaining are the Trustee (as the real party in interest and plaintiff), Zetta PTE and Zetta USA (as
                    28    nominal plaintiffs and, with the Trustee, “Plaintiffs”), and Cassidy (as defendant).
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                      1   (Id. ¶¶ 51-56.) Cassidy accepted over a million dollars in kickbacks and bribes, which
                      2   he concealed from the board of directors. (Id. ¶ 54-55.) Cassidy not only fraudulently
                      3   concealed information, he also outright lied to enrich himself, including to gain shares
                      4   in the Plaintiff corporations. (Id. ¶¶ 62-66.)
                      5         Cassidy’s tortious and illegal conduct was part of an agreed scheme and
                      6   enterprise with Tang and their company, Asia Aviation. (Id. ¶¶ 57, 63, 66, 77-81, 85,
                      7   93-94, 96-97, 99, 116, 119, 122, 130, 132, 145.)
                      8         Plaintiffs thus filed the Complaint in this action. (Dkt. 1.) The Complaint
                      9   advances    nine   causes    of   action:   (i)   RICO    violations;   (ii)   intentional
                    10    misrepresentations or fraud; (iii) concealment; (iv) false promises; (v) conversion; (vi)
                    11    breaches of fiduciary duty; (vii) abuses of control; (viii) corporate waste; and (ix)
                    12    unjust enrichment. Cassidy was personally served with the summons, Complaint, and
                    13    related documents on September 23, 2017. (Dkt. 12.)
                    14          Cassidy moved to dismiss for lack of personal jurisdiction, forum non
                    15    conveniens, and lack of standing. (Dkt. 23.) The Court found that it had specific
                    16    personal jurisdiction over Cassidy and so denied the motion. (Dkt. 56.) Cassidy
                    17    answered on September 14, 2018. (Dkt. 59.)
                    18          Cassidy then “failed to participate in discovery or any other aspect of the
                    19    proceedings.” (Dkt. 126 at 4; see also Dkt. 99-1 at 2-7 (detailing Cassidy’s bad-faith
                    20    refusals to participate in these proceedings).) The Court thus ordered that Cassidy’s
                    21    answer be stricken and default be entered against him. (Id.) The Court also directed
                    22    Plaintiffs to file a motion for default judgment on or before January 29, 2001. (Id.)
                    23    The Clerk entered default against Cassidy on January 11, 2021. (Dkt. 127.)
                    24          Plaintiffs now move for entry of default judgment against Cassidy.
                    25    II. Jurisdiction and Venue
                    26          This Court has specific personal jurisdiction over Cassidy. (See Dkt. 56 at 7-
                    27    17.) This Court has already held that the Complaint sufficiently alleged that Cassidy
                    28    (1) purposefully availed himself of the privilege of conducting activities in California
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                      1   and invoked the benefits and protections of its laws, (2) the claims either arise out of,
                      2   or result from, or are pendent with Cassidy’s California-related activities, and (3) the
                      3   exercise of jurisdiction is reasonable. (Id. at 10-17.)
                      4          This Court has three independent bases for subject-matter jurisdiction. First,
                      5   this Court has federal question jurisdiction under 28 U.S.C. § 1331 because Cassidy’s
                      6   alleged and admitted conduct establishes a federal claim under the Racketeer
                      7   Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961 et seq.
                      8   (Compl. ¶ 15.) “A claim based on a violation of a federal statute is a claim arising
                      9   under federal law within the meaning of 28 U.S.C. § 1331.” SIPC v. Vigman, 764
                    10    F.2d 1309, 1314 (9th Cir. 1985) (cleaned up).2
                    11           Second, this Court has federal question jurisdiction under 28 U.S.C. § 1334(b)
                    12    because this action is related to a case under the bankruptcy code. See United Food
                    13    Grp., LLC v. Cargill, Inc., 2015 WL 13868996, at *7 (C.D. Cal. June 8, 2015). Section
                    14    1334(b) provides that “the district courts shall have original . . . jurisdiction of all civil
                    15    proceedings . . . related to cases under title 11.” The Supreme Court has held that
                    16    “[p]roceedings ‘related to’ the bankruptcy include . . . cause[s] of action owned by the
                    17    debtor which become property of the estate pursuant to 11 U.S.C. § 541(a)(1).” Id.
                    18    (quoting Celotex Corp. v. Edwards, 514 U.S. 300, 307-08 n.5 (1995)). Here, this
                    19    Court has already found that “the claims advanced by Zetta PTE and Zetta USA are
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                            This Court has supplemental jurisdiction over the other claims under 28 U.S.C. § 1367(a) because
                    23    those claims are so related to the federal claim that they form part of the same case or controversy.
                          See Coleman v. Dish Network LLC, 2017 WL 6888289, at *2 (C.D. Cal. Nov. 22, 2017).
                    24    Supplemental jurisdiction is appropriate here because the “state and federal claims . . . derive from
                    25    a common nucleus of operative fact.” Id. (quoting United Mine Workers of Am. V. Gibbs, 383 U.S.
                          715, 725 (1966)). This Court has already recognized that all causes of action in the Complaint share
                    26    a common nucleus of operative fact. (Dkt. 56 at 13 n.5.) Nor is there any reason for this Court to
                          decline to exercise supplemental jurisdiction because (1) the state claims do not raise any novel or
                    27    complex issue of state law, (2) the state claims do not substantially predominate over the federal
                          claim, (3) this court has not dismissed the federal claim, and (4) there is no other compelling reason
                    28    for declining jurisdiction. See 28 U.S.C. § 1367(c); see also Coleman, 2017 WL 6888289, at *3, 5.
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                      1   assets of their respective bankruptcy estates[.]” (Dkt. 56 at 6.) As a result, there is
                      2   federal question jurisdiction under § 1334(b).
                      3          Independent from federal question jurisdiction, the Complaint alleges diversity
                      4   jurisdiction under 28 U.S.C § 1332(a)(3). (Compl. ¶ 17; see also Dkt. 56 at 22 (this
                      5   Court applying the rules of a “federal court in a diversity action” to this case).)3
                      6          Venue is proper in this Court because some of Cassidy’s illegal conduct
                      7   occurred in Los Angeles County and Cassidy’s illegal conduct economically disabled
                      8   Plaintiff Zetta Jet USA, Inc., including the air charter operation in Los Angeles
                      9   County. (Compl. ¶ 18.)
                    10    III. Legal Standard
                    11           Before a court may rule on a motion for default judgment, it first must
                    12    determine whether the motion complies with Federal Rule of Civil Procedure 55 and
                    13    Local Rule 55-1. See Pepsico, Inc. v. Cal. Sec. Cans, 238 F. Supp. 2d 1172, 1175
                    14    (C.D. Cal. 2002). Under those rules, the motion must set forth: (1) when and against
                    15    which party the default was entered; (2) the identification of the pleading to which
                    16
                    17    3
                            Alternatively, this Court has diversity jurisdiction under 28 U.S.C. § 1332(a)(2), which allows for
                    18    diversity jurisdiction between “citizens of a State and citizens or subjects of a foreign state[.]” 28
                          U.S.C. § 1332(a)(2). When evaluating parties’ citizenship, “a federal court must disregard nominal
                    19    or formal parties and rest jurisdiction only upon the citizenship of real parties to the controversy.”
                          Navarro Sav. Ass’n v. Lee, 446 U.S. 458, 461 (1980). Zetta PTE and Zetta USA became nominal
                    20    parties upon their bankruptcy discharge. See Jackson v. E-Z-GO Div. of Textron, Inc., 2012 WL
                    21    2562830, at *1–2 (W.D. Ky. June 29, 2012) (holding that any non-diverse parties became nominal
                          parties upon bankruptcy discharge and so diversity jurisdiction was preserved). The Trustee then
                    22    became the real party in interest here. See Riggs v. Aetna Life Ins. Co., 188 F. App'x 659, 663 (10th
                          Cir. 2006); see also Ritz Camera, 2013 WL 3387817, at *2. This Court has recognized just that. It
                    23    held, for example, that “this action can only be prosecuted by the Trustee,” that Zetta PTE and Zetta
                          USA “do not have standing to pursue this action,” and that “the Trustee is the real party in interest.”
                    24    (Dkt. 56 at 6; see also Dkt. 55 at 3; Doc 55-1 at 3 n.2.) This Court thus may consider the citizenship
                    25    of the Trustee rather than the citizenship of the bankrupt corporations for diversity jurisdiction
                          purposes. See, e.g., Samson v. Allis-Chalmers Prod. Liab. Tr., 1990 WL 87394, at *2 (E.D. Pa. June
                    26    21, 1990) (rejecting the argument that “the citizenship of the bankrupt, rather than that of the trustee
                          in bankruptcy, was determinative for purposes of diversity jurisdiction”). The Trustee is an Illinois
                    27    citizen. (Declaration of Chapter 7 Trustee Jonathan D. King (“King Decl.”), attached hereto, ¶ 3.)
                          Cassidy is a subject of a foreign state (Cassidy is an Australian citizen domiciled in Singapore).
                    28    (Dkt. 23-2 ¶¶ 1-2.) This Court thus also has diversity jurisdiction under 28 U.S.C. § 1332(a)(2).
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                      1   default was entered; (3) whether the defaulting party is an infant or incompetent
                      2   person, and if so, whether that person is adequately represented; (4) that the
                      3   Servicemembers Civil Relief Act, 50 U.S.C. § 3901 et seq., does not apply; and (5)
                      4   that notice of the motion has been served on the defaulting party, if required.” Id.
                      5   Under Federal Rule of Civil Procedure 55(b)(2), “[i]f the party against whom a default
                      6   judgment is sought has appeared personally or by a representative, that party or its
                      7   representative must be served with written notice of the application at least 7 days
                      8   before the hearing.”
                      9         Once those procedural requirements are met, “[g]ranting or denying a motion
                    10    for default judgment is a matter within the court’s discretion.” Id. at 919. In exercising
                    11    that discretion, the Ninth Circuit has ordered courts to consider (1) the possibility of
                    12    prejudice to the plaintiff; (2) the merits of the plaintiff’s substantive claim; (3) the
                    13    sufficiency of the complaint; (4) the sum of money at stake in the action;(5) the
                    14    possibility of a dispute about material facts; (6) whether the default was due to
                    15    excusable neglect; and (7) the strong policy underlying the Federal Rules of Civil
                    16    Procedure favoring decisions on the merits. Eitel v. McCool, 782 F.2d 1470, 1471-72
                    17    (9th Cir. 1986); see also NewGen, LLC v. Safe Cig, LLC, 840 F.3d 606, 616 (9th Cir.
                    18    2016). A formal hearing is not required for a district court to render a default
                    19    judgment. Bd. of Trs. of the Boilermaker Vacation Tr. v. Skelly, Inc., 389 F. Supp. 2d
                    20    1222, 1225 (N.D. Cal. 2005) (citing Davis v. Fendler, 650 F.2d 1154, 1164 (9th Cir.
                    21    1981)).
                    22          On entry of default, the well-pled allegations of the complaint, except those on
                    23    damages, are deemed true. Fed. R. Civ. P. 8(b)(6); see also Phillip Morris USA, Inc.
                    24    v. Castworld Prods., Inc., 219 F.R.D. 494, 498 (C.D. Cal. 2003) (citing Televideo
                    25    Sys., Inc. v. Heidenthal, 826 F.2d 915, 917 (9th Cir. 1987)). In addition, this Court has
                    26    ordered that, “[p]ursuant to Fed. R. Civ. P. 37(b)(2)(A)(i), the matters within the scope
                    27    of the discovery propounded on Cassidy seeking his position and evidence as to
                    28    various issues . . . are deemed admitted in a manner that is adverse to him.” (Dkt. 126
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                      1   at 4.) The Court specifically referenced Plaintiffs’ interrogatories (Dkt. 107-1 at 15),
                      2   requests for production (id. at 29), and requests for admission (id. at 58). As described
                      3   in Rule 37(b)(2)(A)(i), this Court thus “direct[ed] that the matters embraced in [its]
                      4   order [and] the other [facts it] designated . . . be taken as established for purposes of
                      5   [this] action, as the [Plaintiffs] claim[ ].”
                      6          A plaintiff must merely state a claim “upon which the [plaintiff] may recover.”
                      7   PepsiCo, 238 F. Supp. 2d at 1175. The court thus considers whether the “unchallenged
                      8   facts constitute a legitimate cause of action, since a party in default does not admit
                      9   mere conclusions of law.” Landstar, 725 F. Supp. 2d at 920. The plaintiff must also
                    10    provide evidence of its damages, and the damages sought must not be different in kind
                    11    or exceed the amount demanded in the pleadings. Fed. R. Civ. P. 54(c).
                    12    IV. Plaintiffs Have Met the Procedural Requirements
                    13           Plaintiffs have met the requirements for default judgment under Local Rule 55-
                    14    1. This Court ordered Cassidy’s answer stricken and directed “the clerk to enter
                    15    default against Cassidy.” (Dkt. 126 at 4.) The Clerk entered default against Cassidy
                    16    on January 11, 2021. (Dkt. 127.) The pleading to which default was entered is the
                    17    Complaint. Cassidy is neither an infant nor an incompetent person. (King Decl. ¶ 8.)
                    18    Cassidy is not exempt under the Servicemembers Civil Relief Act, 50 U.S.C. § 3901
                    19    et seq. (Id. ¶ 9.) Plaintiffs have served a copy of this Motion on Cassidy concurrent
                    20    with its filing. (Id. ¶ 10.) Consistent with this Court’s previous order, Plaintiffs served
                    21    this Motion on Cassidy by email.4 (Dkt. 103; see also King Decl. ¶ 10.) Plaintiffs also
                    22    sent copies to Cassidy’s last known address. (Id.) On top of that, Plaintiffs served
                    23    Cassidy’s prior representatives, who previously confirmed that they have his contact
                    24    information. (Id.; Dkt. 48-3 ¶ 3; Dkt. 67 at 1, 3; Dkt. 68 ¶ 3.) Plaintiffs have thus
                    25    properly served notice of this Motion.
                    26
                    27    4
                            Cassidy provided the following email to this court: g.o.cassidy@gmail.com. (Dkt. 84-1 at 1.)
                    28    Plaintiffs’ counsel has corresponded with Cassidy at that email address. (See, e.g., Dkt. 96 at 11.)
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                      1   V. Plaintiffs Have Satisfied the Eitel Factors
                      2         Plaintiffs have satisfied the seven factors that courts consider when determining
                      3   whether default judgment should be granted. Eitel, 782 F.2d at 1471-72.
                      4         A.     Denial of Default Judgment Would Prejudice Plaintiffs
                      5         Denying default judgment here would leave Plaintiffs with no means to recover
                      6   the damages sustained by Cassidy’s wrongful conduct. See Microsoft Corp. v. Nop,
                      7   549 F. Supp. 2d 1233, 1236-37 (E.D. Cal. 2008). It would also mean that Plaintiffs
                      8   would need to continue to commit time and resources to proceedings in which Cassidy
                      9   has refused to participate. See FTC v. A to Z Mktg., Inc., 2014 WL 12597436, at *3
                    10    (C.D. Cal. Sep. 2, 2014) (where defaulting defendants had not filed answers or
                    11    otherwise participated in litigation, plaintiff would be prejudiced if required to keep
                    12    litigating against “phantom defendants”).
                    13          B.     Plaintiffs’ Substantive Claims are Meritorious and the Complaint
                                       Sufficiently Pleads the Claims
                    14
                                The second and third Eitel factors are often analyzed together. The Ninth
                    15
                          Circuit has “suggested that these two factors require that a plaintiff ‘state a claim on
                    16
                          which [it] may recover’” Pepsico, 238 F. Supp. 2d at 1175 (quoting Kloepping v.
                    17
                          Fireman's Fund, 1996 WL 75314, at *2 (N.D. Cal. Feb. 13, 1996)). Plaintiffs have
                    18
                          stated a claim on which they may recover for each cause of action.
                    19
                                       i. RICO (First Cause of Action)
                    20
                                RICO makes it “unlawful for any person employed by or associated with any
                    21
                          enterprise engaged in, or other activities of which affect, interstate or foreign
                    22
                          commerce, to conduct or participate, directly or indirectly, in the conduct of such
                    23
                          enterprise’s affairs through a pattern of racketeering activity.” 18 U.S.C. § 1962(c).
                    24
                          The elements of a RICO claim are thus “(1) conduct (2) of an enterprise (3) through
                    25
                          a pattern (4) of racketeering activity (known as predicate acts) (5) causing injury to
                    26
                          plaintiff's ‘business or property.” Living Designs, Inc. v. E.I. Dupont de Nemours &
                    27
                          Co., 431 F.3d 353, 361 (9th Cir. 2005) (cleaned up). The Complaint pleads – and
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                      1   therefore Cassidy has admitted – those elements. (Compl. ¶ 77.) The Complaint also
                      2   pleads that Plaintiffs were and are persons injured in their business or property by
                      3   reasons of Cassidy’s violations of 18 U.S.C. § 1962(c), so they may pursue civil
                      4   remedies against him under 18 U.S.C. § 1964(c).
                      5         Plaintiffs also alleged RICO with sufficient particularity. First, the Complaint
                      6   pleads that Cassidy conducted an enterprise consisting of Cassidy, Tang, and Asia
                      7   Aviation. (See id. ¶¶ 14, 36, 57, 63, 66, 77-81, 85, 93-94, 96-97, 99, 116, 119, 122,
                      8   130, 132, 145 (providing details on Tang and Asia Aviation’s role in the RICO
                      9   enterprise).) And it pleads facts showing that each member of the enterprise has had
                    10    a separate existence from the enterprise and the other members, including distinct
                    11    legal statuses. (See id. ¶¶ 8-13.)
                    12          Second, the Complaint contains detailed allegations laying out the specific facts
                    13    of Cassidy’s racketeering activity, Cassidy’s intent to defraud, and the injury to
                    14    Plaintiffs’ business and property caused by the pattern of racketeering activity. (See
                    15    id. ¶¶ 53-55 (identifying Cassidy specifically as the relevant Defendant, and alleging
                    16    that he made a secret deal with a Jetcraft employee for illegal kickbacks, alleging that
                    17    Cassidy received those kickbacks, alleging when he received those kickbacks,
                    18    alleging from whom he received those kickbacks, alleging the amount of the
                    19    kickbacks, alleging the specific dollar range that he misappropriated through those
                    20    kickbacks, alleging that the kickbacks were not legitimate commissions, and alleging
                    21    the specific harm to Plaintiffs from the inflated price and financing obligations they
                    22    caused); id. ¶ 41 (identifying Cassidy specifically as the relevant Defendant, and the
                    23    specific time period, his wrongful conduct, the specific range of funds he
                    24    misappropriated, and the specific property he bought with misappropriated funds); id.
                    25    ¶ 42 (identifying Cassidy specifically as the relevant Defendant, and the location of
                    26    properties he bought with misappropriated funds); id. ¶ 43 (identifying Cassidy
                    27    specifically as the relevant Defendant, and the number and specific value range of
                    28    automobiles bought with misappropriated funds); id. ¶ 44 (identifying Cassidy
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                      1   specifically as the relevant Defendant, and the cost and locations of gatherings he paid
                      2   for with misappropriated funds); id. ¶¶ 45-48 (identifying Cassidy specifically as the
                      3   relevant Defendant, and his improper use of company jets, including specific dates
                      4   and places of departure and landing); id. ¶¶ 62-64, 67 (identifying Cassidy specifically
                      5   as the relevant Defendant, and alleging the time and specific misrepresentation he told
                      6   and to whom he told them); id. ¶ 66 (alleging Cassidy’s “deceit[ful] intent”); id. ¶¶
                      7   87-88 (alleging that Cassidy “knew the representations were false when he made
                      8   them” and that Cassidy “intended that [Plaintiffs, among others] would rely on the
                      9   representations”).
                    10          The Complaint likewise pleads a pattern of racketeering activity by pleading at
                    11    least two predicate acts within a 10-year period. Those predicate acts include, but are
                    12    not limited to, wire fraud and interstate transportation of stolen property. (Id. ¶ 78.)
                    13    For example, the Complaint alleges – and therefore Cassidy has admitted – that
                    14    Cassidy “used a company jet (including crew services, fuel, and other company
                    15    assets) to fly himself to Nice, France without any payment or reimbursement . . . to
                    16    take possession of a new multi-million dollar motoryacht he purchased with
                    17    misappropriated company funds.” (Id. ¶ 48; see also 18 U.S.C. § 2314.)
                    18          Finally, the Complaint pleads – and therefore Cassidy has admitted – domestic
                    19    injury, and it pleads the enterprise’s activities’ effects on interstate and foreign
                    20    commerce. (See, e.g., id. ¶ 18 (the “illegal conduct economically disabled [Zetta
                    21    USA], including the air charter operation in Los Angeles County”); id. ¶ 58 (alleging
                    22    the specific cause and damages to Zetta USA); id. ¶¶ 34-35 (alleging that Plaintiff
                    23    corporations “conduct[ed] domestic and international charter flights”).)
                    24                 ii. Intentional Misrepresentation (Second Cause of Action)
                    25          “The elements of a cause of action for intentional misrepresentation are (1) a
                    26    misrepresentation, (2) with knowledge of its falsity, (3) with the intent to induce
                    27    another’s reliance on the misrepresentation, (4) actual and justifiable reliance, and (5)
                    28    resulting damage.” Daniels v. Select Portfolio Servicing, Inc., 246 Cal. App. 4th 1150,
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                      1   1166 (2016). The Complaint properly pleads all of these elements. (Compl. ¶¶ 83-90.)
                      2   It likewise pleads and Cassidy has thus admitted facts supporting the claim with the
                      3   requisite specificity. For example, it alleges Cassidy’s specific misrepresentations (id.
                      4   ¶¶ 62-64, 67, 84-85), to whom he made those misrepresentations (id.), and when he
                      5   made those representations (id. ¶ 62; see also Dkt. 107-1 at 44 (admitting in a manner
                      6   adverse to Cassidy the matters within the scope of the discovery propounded on him
                      7   seeking his position and evidence as to the contents of “ALL DOCUMENTS,
                      8   including COMMUNICATIONS, RELATED TO ZETTA’s request for additional
                      9   loans in September 2017”).
                    10                 iii. Concealment (Third Cause of Action)
                    11          “[T]he elements of an action for fraud and deceit based on concealment are: (1)
                    12    the defendant must have concealed or suppressed a material fact, (2) the defendant
                    13    must have been under a duty to disclose the fact to the plaintiff, (3) the defendant must
                    14    have intentionally concealed or suppressed the fact with the intent to defraud the
                    15    plaintiff, (4) the plaintiff must have been unaware of the fact and would not have acted
                    16    as he did if he had known of the concealed or suppressed fact, and (5) as a result of
                    17    the concealment or suppression of the fact, the plaintiff must have sustained damage.”
                    18    Lovejoy v. AT&T Corp., 119 Cal. App. 4th 151, 157–58 (2004). The Complaint
                    19    properly pleads all of those elements. (Compl. ¶¶ 93-104.) It likewise pleads facts
                    20    supporting the claim with the requisite specificity. For example, it alleges what
                    21    specific facts Cassidy concealed, from whom they were concealed, how they were
                    22    concealed, and when they were concealed, and the specific damage that concealment
                    23    caused. (Id. ¶¶ 41-45, 54-55, 97-98.)
                    24                 iv. False Promises (Fourth Cause of Action)
                    25          “[I]n a promissory fraud action, to sufficiently allege[] defendant made a
                    26    misrepresentation, the complaint must allege (1) the defendant made a representation
                    27    of intent to perform some future action, i.e., the defendant made a promise, and (2)
                    28    the defendant did not really have that intent at the time that the promise was made,
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                      1   i.e., the promise was false.” Beckwith v. Dahl, 205 Cal. App. 4th 1039, 1060 (2012).
                      2   The Complaint properly pleads both elements. (Compl. ¶¶ 105-114.) It likewise
                      3   pleads facts supporting the claim with the requisite specificity. For example, it alleges
                      4   that Cassidy specifically made the false promises (id. ¶ 106), to whom he made those
                      5   false promises (id. ¶¶ 62-64, 67), the specific false promises he made (¶¶ 62-63, 67,
                      6   106), and when he made them (id. ¶¶ 62, 68, 70, 106). Again, Cassidy has been
                      7   deemed to have admitted these facts.
                      8                v. Conversion, Breaches of Fiduciary Duty, Abuses of Control,
                                          Corporate Waste, and Unjust Enrichment (Fifth-Ninth Causes of
                      9
                                          Action)
                    10          The remaining causes of action are governed by notice pleading standards. For
                    11    that reason, “[s]pecific facts are not necessary[.]” Erickson v. Pardus, 551 U.S. 89, 93
                    12    (2007). Instead, the Complaint “need only give the defendant fair notice of what the
                    13    ... claim is and the grounds upon which it rests.” Id. (cleaned up). The Complaint
                    14    easily meets this low bar for the Fifth through Ninth causes of action. Compare
                    15    Shanghai Automation Instrument Co. v. Kuei, 194 F. Supp. 2d 995, 1003 (N.D. Cal.
                    16    2001) (conversion properly pled), with Compl. ¶¶ 116-125; compare Gutierrez v.
                    17    Girardi, 194 Cal. App. 4th 925, 932 (2011) (breach of fiduciary duty properly pled),
                    18    with Compl. ¶¶ 127-135, 137-141; compare Swingless Golf Club Corp. v. Taylor, 679
                    19    F. Supp. 2d 1060, 1071 (N.D. Cal. 2009) (corporate waste properly pled), with Compl.
                    20    ¶¶ 143-147; compare In re Asyst Techs., Inc. Deriv. Litig., 2008 WL 2169021, at *11
                    21    (N.D. Cal. May 23, 2008) (unjust enrichment properly pled), with Compl. ¶¶ 149-152.
                    22          C.     The Monetary Judgment Sought Is Proportionate to the Harm
                    23                 Defendant Caused
                    24          This factor asks “whether the recovery sought is proportional to the harm
                    25    caused by defendant’s conduct.” Landstar, 725 F. Supp. 2d at 921 (cleaned up).
                    26    Plaintiffs seek a judgment for $38,246,748, plus attorneys’ fees and costs, further
                    27
                    28
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                      1   described below.5 This amount is proportionate to the destruction Cassidy left in his
                      2   wake: the millions of dollars he misappropriated for his personal benefit, the hundreds
                      3   of millions of dollars in vastly overpriced planes that he caused the Plaintiffs to buy
                      4   in exchange for kickbacks, the potentially viable businesses he destroyed. Those
                      5   damages should be trebled under RICO and punitive damages are entirely appropriate.
                      6   The monetary judgment sought is also appropriate here because of Cassidy’s malice
                      7   and deceit, the enormity and duration of Cassidy’s intentional and outrageous
                      8   wrongdoing, and the need to deter him from similar fraudulent and tortious behavior
                      9   in the future.
                    10           D.      The Material Facts of this Matter Are Indisputable
                    11           The fifth Eitel factor requires the Court to consider the possibility of a dispute
                    12    over material facts. Here, no such possibility exists. First, upon entry of default, all
                    13    well-pleaded facts in the complaint are taken as true. PepsiCo, 238 F. Supp. 2d at
                    14    1177; Geddes v. United Fin. Grp., 559 F.2d 557, 560 (9th Cir. 1977). Second, this
                    15    Court has ordered that “the matters within the scope of the discovery propounded on
                    16
                    17    5
                            In addition to the amounts and ways described in this Motion, the Plaintiffs were also damaged in
                    18    numerous other ways and amounts. (King Decl. ¶¶ 25-27.) Cassidy caused the Plaintiffs to purchase
                          nearly half-a-billion dollars of planes in exchange for the kickbacks and commercial bribes
                    19    described above at prices well above the fair market value of the aircraft. The Plaintiffs were
                          damaged in an amount at minimum equal to the amount of the kickbacks and bribes. In addition to
                    20    the amount of the kickbacks and bribes, the Plaintiffs were further damaged by the difference
                    21    between the amount that the Plaintiffs paid for the planes and the amounts the planes were actually
                          worth. Cassidy’s actions directly caused the failure of both Zetta PTE and Zetta USA, which was
                    22    previously a successful private jet charter business, resulting in a significant loss of business
                          reputation and goodwill. Cassidy also caused the Plaintiffs to pay principal and interest on various
                    23    loans, investments, and aircraft transactions well in excess of market rates. Cassidy also made
                          numerous actual intent and constructive fraudulent transfers and preferential transfers to various
                    24    parties, which the Trustee is entitled to avoid and recover. The Trustee expressly reserves the right
                    25    to seek to recover these damages (and other damages recoverable against the defendants including
                          disgorgement of profits, treble damages, tort damages and other damages) in adversary proceedings
                    26    in the Plaintiffs’ bankruptcy proceedings. By identifying specific categories and amounts of
                          damages in this motion for default judgment, the Trustee in no way intends to waive or limit the
                    27    damages that may be recoverable against the defendants in any of the adversary proceedings or any
                          other party, or to waive or limit the Trustee’s ability to avoid and recover any fraudulent or
                    28    preferential transfers.
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                      1   Cassidy seeking his position and evidence . . . are deemed admitted in a manner that
                      2   is adverse to him.” (Dkt. 126 at 4.) This Court thus “direct[ed] that the matters
                      3   embraced in [its] order [and] the other [facts it] designated . . . be taken as established
                      4   for purposes of [this] action, as the [Plaintiffs] claim[].” Fed. R. Civ. P. 37(b)(2)(A)(i).
                      5         E.     More than Mere Lack of Excusable Neglect, Cassidy Acted Willfully
                                       and in Bad Faith
                      6
                                Cassidy has had every chance to avoid entry of default judgment. “This action
                      7
                          has been pending for more than three years and Cassidy has failed to participate in
                      8
                          discovery or any other aspect of the proceedings.” (Dkt. 126 at 4.) Cassidy cannot
                      9
                          possibly claim excusable neglect because this Court has already found that his
                    10
                          conduct has been willful and in bad faith. (Id.) That far exceeds the low showing
                    11
                          required by this factor.
                    12
                                F.     The General Policy Favoring Decisions on the Merits Does Not
                    13                 Weigh Against Entering Default Judgment Here
                    14          While “[c]ases should be decided on their merits whenever reasonably
                    15    possible,” Eitel, 782 F.2d at 1472, “the mere existence of Rule 55(b) ‘indicates that
                    16    this preference, standing alone, is not dispositive.’” PepsiCo, 238 F. Supp. 2d at 1177
                    17    (quoting Kloepping v. Fireman's Fund, 1996 WL 75314, at *3 (N.D. Cal. Feb. 13,
                    18    1996)); see also F.T.C. v. Hope for Car Owners, LLC, 2013 WL 322895, at *4 (E.D.
                    19    Cal. Jan. 24, 2013) (preference in favor of decision on merits is not dispositive,
                    20    especially where defendant fails to appear or defend itself). Entry of default judgment
                    21    is appropriate when, as here, a decision on the merits is impractical, if not impossible,
                    22    because Cassidy has failed to participate in the litigation. See PepsiCo, 238 F. Supp.
                    23    2d at 1177. In these circumstances, this factor favors Plaintiffs.
                    24    VI. The Damages Sought Are Reasonable, Appropriate, and Supported by the
                    25        Evidence
                    26          Plaintiffs seek a monetary judgment against Cassidy of $38,246,748, plus

                    27    attorneys’ fees and costs, which includes:

                    28
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                      1     The amount of the kickbacks and commercial bribes (Compl. ¶¶ 54, 144).
                      2       Cassidy received at least $1,086,459 in payments or items of value from Jahid
                      3       Fazal-Karim, Jetcraft, and Bombardier which are admitted to be illegal
                      4       kickbacks or commercial bribes without the Plaintiffs’ knowledge or consent.
                      5       (Declaration of Luke Furler (“Furler Decl.”), attached hereto, ¶¶ 8-9.)
                      6       Specifically, Cassidy received two payments of $500,000 each from Jetcraft to
                      7       Cassidy personally that were included in the price of two planes purchased by
                      8       the Plaintiffs. Cassidy also received a credit worth $42,569 on an obligation
                      9       that he personally owed to Fazal-Karim on June 2, 2017 relating to the yacht
                    10        Nyota. (Id. ¶ 8; see also Dkt. 107-1 at 65 (Cassidy admitting that he “received
                    11        payment or items of value . . . from Jahid Fazal-Karim” and the same from
                    12        “Jetcraft”); Dkt. 107-1 at 23 (admitting in a manner adverse to Cassidy the
                    13        matters within the scope of the discovery propounded on him seeking his
                    14        position and evidence as to “ALL material facts RELATED TO [Cassidy’s]
                    15        relationship with Jahid Fazal-Karim” and “ANY payments or items of value
                    16        . . . that [Cassidy] received from Jahid Fazal-Karim”); Dkt. 107-1 at 26, 41
                    17        (admitting in a manner adverse to Cassidy the matters within the scope of the
                    18        discovery propounded on him seeking his position and evidence regarding
                    19        “ALL material facts RELATED TO YOUR purchase, operations, sale, transfer,
                    20        and insurance of the Nyota” yacht and documents and communications relating
                    21        to the Nyota); Dkt. 107-1 at 51-52.) Cassidy also personally received F1 Tickets
                    22        from Bombardier worth $43,890 on July 30, 2016. (Furler Decl. ¶ 9; Dkt. 107-
                    23        1 at 64 (Cassidy admitting that he “received payments or items of value . . .
                    24        from BOMBARDIER”); Dkt. 107-1 at 25-26 (admitting in a manner adverse
                    25        to Cassidy the matters within the scope of the discovery propounded on him
                    26        seeking his position and evidence as to “ALL material facts RELATING TO
                    27        ANY transactions between ZETTA and BOMBARDIER” and “any payments
                    28        . . . that [Cassidy] received from BOMBARDIER”); Dkt. 107-1 at 45
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                      1       (admitting in a manner adverse to Cassidy the matters within the scope of the
                      2       discovery propounded on him seeking his position and evidence as to “ALL
                      3       DOCUMENTS supporting [Cassidy’s] contention that [Cassidy] did not
                      4       receive any kickbacks or payments from BOMBARDIER or any entity
                      5       affiliated with BOMBARDIER”); Dkt. 107-1 at 52.)
                      6     The amount of funds Cassidy misappropriated (Compl. ¶¶ 41-50, 54). Cassidy
                      7       embezzled at least $11,662,457 from the Plaintiffs for the purchase of a yacht
                      8       and personal vehicles, the use of the Plaintiff’s aircraft for personal reasons, the
                      9       purchase of Cassidy’s personal residence, the use of corporate credit cards for
                    10        personal or unauthorized expenses, payment of Cassidy’s personal income
                    11        taxes, and transfers to his personal bank accounts. (Furler Decl. ¶¶ 11-16; Dkt.
                    12        107-1 at 26, 42-43 (admitting in a manner adverse to Cassidy the matters within
                    13        the scope of the discovery propounded on him seeking his position and
                    14        evidence regarding “ALL material facts RELATED TO YOUR purchase,
                    15        operations, sale, transfer, payroll, and insurance of the Dragon Pearl” yacht and
                    16        documents and communications relating to the Dragon Pearl); Dkt. 107-1 at 47
                    17        (admitting in a manner adverse to Cassidy the matters within the scope of the
                    18        discovery propounded on him seeking his position and evidence as to the
                    19        contents   of   “ALL      DOCUMENTS          including    COMMUNICATIONS,
                    20        RELATING TO ANY vehicles purchased, used, or operated by [Cassidy] or
                    21        on [Cassidy’s] behalf using ZETTA’s funds”); Dkt. 107-1 at 65 (Cassidy
                    22        admitting that he “purchased vehicles for personal use using ZETTA’s funds”
                    23        and “flew on ZETTA’s aircraft for personal reasons unrelated to ZETTA
                    24        activities”); Dkt. 107-1 at 40 (admitting in a manner adverse to Cassidy the
                    25        matters within the scope of the discovery propounded on him seeking his
                    26        position and evidence as to the contents of “ALL DOCUMENTS, including
                    27        COMMUNICATIONS, RELATED TO [Cassidy’s] purchase of 3 Ardmore
                    28        Park, unit #20-01 in Singapore”); Dkt. 107-1 at 46-47 (admitting in a manner
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                      1       adverse to Cassidy the matters within the scope of the discovery propounded
                      2       on him seeking his position and evidence as to the contents of “ALL
                      3       DOCUMENTS supporting the fact that transactions on [Cassidy’s] corporate
                      4       credit card were for ZETTA-related business purposes”); Dkt. 107-1 at 47
                      5       (admitting in a manner adverse to Cassidy the matters within the scope of the
                      6       discovery propounded on him seeking his position and evidence as to the
                      7       contents of “ALL DOCUMENTS, including COMMUNICATIONS, related to
                      8       a payment of $3,666,666 to YOU on September 22, 2016 . . . at HSBC
                      9       Singapore”).)
                    10      Treble damages available under 18 U.S.C. § 1964(c) (Compl. ¶¶ 17, 77; id. at
                    11        23 ¶ v.) Plaintiffs suffered at least $12,748,916 in damages to their business or
                    12        property caused by Cassidy’s RICO violations. (Furler Decl. ¶¶ 8-16.) Under
                    13        18 U.S.C. § 1964(c), “[a]ny person injured in his business or property by reason
                    14        of a violation of [18 U.S.C. § 1962] may sue . . . and shall recover threefold the
                    15        damages he sustains and the cost of the suit, including a reasonable attorney’s
                    16        fee[.]” Accordingly, Plaintiffs seek a judgment in the amount of $38,246,748
                    17        after trebling and before adding attorneys’ fees and costs and punitive and
                    18        exemplary damages.
                    19      Plaintiffs’ attorneys’ fees and costs of this suit. (Compl. ¶¶ 58; id. at 23 ¶¶ vi
                    20        and viii). Under 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover “the cost
                    21        of the suit, including a reasonable attorney’s fee.” Under Local Rule 55-3, those
                    22        fees “shall be calculated” according to a schedule, which for judgments over
                    23        $100,000 is calculated as $5,600 plus 2 percent of the amount over $100,000.
                    24        In this case, that amount is $768,535.
                    25      Punitive and exemplary damages. (Compl. at 23 ¶ iv.) Punitive damages are
                    26        appropriate here because Plaintiffs suffered actual damages from Cassidy’s
                    27        malice and deceit, because of the enormity and duration of Cassidy’s
                    28        intentional and outrageous wrongdoing, and because of the need to deter him
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                      1           from similar fraudulent and tortious behavior in the future. See In re Late Fee
                      2           & Over-Limit Fee Litig., 741 F.3d 1022, 1027 (9th Cir. 2014); see also Ditullio
                      3           v. Boehm, 662 F.3d 1091, 1098 (9th Cir. 2011); Restatement (Second) of Torts
                      4           § 908 (1979).
                      5         Restitution in the form of disgorgement of all illicit proceeds generated as a
                      6           result of Cassidy’s wrongful conduct (Compl. at 23 ¶ iii). Cassidy has
                      7           wrongfully retained illicit proceeds, including the kickbacks, commercial
                      8           bribes, and direct and indirect benefits described above, in the amount of
                      9           $12,748,916. (King Decl. ¶¶ 15, 24.) 6
                    10    VII. Conclusion
                    11            For the reasons above, Plaintiffs request that the Court enter an order of default
                    12    judgment against Cassidy in the amount of $39,015,283, as well as any punitive
                    13    damages that this Court deems appropriate.
                    14
                              DATED: February 19, 2021                DLA PIPER LLP (US)
                    15
                    16                                                By: /s/ David B. Farkas
                                                                      DAVID B. FARKAS
                    17
                                                                      JOHN K. LYONS (Pro Hac Vice)
                    18                                                JEFFREY S. TOROSIAN (Pro Hac Vice)
                    19
                                                                      Attorneys for Jonathan D. King as
                    20                                                Chapter 7 Trustee
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                           As more fully described in footnote 5, the Trustee in no way intends to waive or limit the damages
                    27    that may be recoverable against the defendants in any of the adversary proceedings or any other
                          party, or to waive or limit the Trustee’s ability to avoid and recover any fraudulent or preferential
                    28    transfers
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                                                                          PLAINTIFFS’ MOTION FOR DEFAULT
                    28                                                           CASE NO. 2:17-CV-6648 (JAK)
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